Case 1:23-cv-00111-GNS-HBB Document 1-2 Filed 08/23/23 Page 1 of 7 PagelD #: 15

Filed 23-Cl-00123 08/01/2023 __ Kayla Rountree, Hart Circuit Clerk
AOC-104 Doc. Code: CCCS
Rev, 6-23 Case No.:
Page 1 of 1 Court: Circuit
Commonwealth of Kentucky . [Hart
Court of Justice www.kycourts.gov Caunty: |
CIVIL CASE COVER SHEET Division:

PLAINTIFF/PETITIONER or IN RE/IN THE INTEREST OF:

WALTER WILCOXSON

DEFENDANT/RESPONDENT, ff applicable:
PRINCIPAL LIFE INSURANCE COMPANY

[_] Check here if YOU DO NOT HAVE AN ATTORNEY and are REPRESENTING YOURSELF
(a Self-Represented [Pro Se] Litigant)

DOMESTIC RELATIONS

[_] Paternity (PA)

[_] Custody (CUSTO)

[_] Child Support IV-D (SUPIV)

-] Child Support Private Non IV-D (SUPPRI)
[_] URESAJUIFSA (UR)

[_] Visitation/Parenting Time (VISIT)

-] Voluntary Termination of Parental Rights
(VTPR)

C] Involuntary Termination of Parental Rights
(ITPR)

[_] Adoption (ADPT)
[_] Other: (DFOTH)

LC] Dissolution/Divorce with Children (DISSOC)
CT Dissolution/Divorce without Children (DISSO)

REAL PROPERTY

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PROBATE / ESTATE

[_] Guardianship-Adult (GCADLT)

[_] Guardianship-Juvenile (GCJUV)

[_] Adult Conservatorship - Trusteeship
(CONSVA)

[_] Juvenile Conservatorship - Trusteeship
(CONSVJ)

[_] Probate-Testate (with a will) (PBTEST)

CI Probate-Intestate (without a will) (PBINT)

[-] Name Change (NC)
[_] will Contest (WC)
[_] Other: (PBOTH)

[] Petition to Dispense with Administration (PBDIS)

[_] Abandoned and Blighted Property

ch. Condemnation OMAN:

[1 Forcible: Detainer:- Eviction (ED):
*6File Only Seg te Se

[_] Forcible Entry (FENTRY)

_]Foréclosure (FGL) *eFile Only...

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[_](6ther: (COOTH) *eFife Only”

“os

Employment-Discrimi hati a

EMPLOYMENT “efile Only...

: CONSUMER *eFile’ Only.

“ol | [2] Seller Consumer Goods. (DEBTE).

oO Seller,;Consumer Services *
(DEBTS) :

a

o Buyer Bansulner Goods

“(BUYERG)

‘L1Bayer Consumer Services a :
(BUYERS)

6H Credit Card Debt (CRED :

vi | Other’ (COOTH) *
, Bedaratory Judgment?’

O Frauid,(FRAUD) . ae ot _

APPEALS

[_] Appeal from Administrative Agency
(AB)

[_] Appeal from District Court (XI)
[_] Other: (OTH)

MISC CIVIL

[] Constitutional Challenge
(CCHAL)

[_] Habeas Corpus (HABEAS)

[_] Non-Domestic Relations
Restraining Order (IP)

[_] Tax (TAX)
[_] Writs (WRITS)
[_] Other: (OTH)

Presiding Judge: HON. CHARLES C. SIMMS, II] (610193)

‘BUSINESS/COMMER' IAL ‘File Only -
Business Tort (BCP) °

. Statutory Action (B6sA),

E-] Business Contract: Dispute (ecco)
Ey Other! ‘(BCOTH) =

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08/01/2023

Kayla Rountree, Hart Circuit Clerk

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AOC-105 Doc. Code: Cl
Rev. 1-07

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Commonwealth of Kentucky

Court of Justice www.courts.ky.gov
CR 4.02; CR Official Form 1 CiviL SUMMONS

Case No.

Court lV] Circuit | | District

County Hart

WALTER WILCOXSON

VS.

PRINCIPAL LIFE INSURANCE COMPANY.

Service of Process Agent for Defendant:
Principal Life Insurance Company

PLAINTIFF

DEFENDANT

c/o Corporation Service Company

421 West Main Street

Frankfort |

Kentucky 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on

your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you

for the relief demanded in the attached Complaint.

The name(s) and address(es) of the party or parties demanding relief against you are shown on the document

delivered to you with this Summons.

Date: 2 Clerk
By: D.C.
Proof of Service
This Summons was served by delivering a true copy and the Complaint (or other initiating document) to:
this day of i2
Served by:
Title
Filed 23-Cl-00123 08/01/2023 Kayla Rountree, Hart Circuit Clerk

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Presiding Judge: HON. CHARLES C. SIMMS, III (610193)

NO : 000001 of 000001
Case 1:23-cv-00111-GNS-HBB Document 1-2 Filed 08/23/23 Page 3 of 7 PagelD #: 17

AOC-E-105 Sum Code: Cl
Rev. 9-14 Case #: 23-Cl-00123
Court: CIRCUIT

County: HART

Commonwealth of Kentucky
Court of Justice Courts.ky.gov

CR 4.02; Cr Official Form 4 CIVIL SUMMONS

Plantiff, WILCOXSON, WALTER VS. PRINCIPAL LIFE INSURANCE COMPANY, Defendant

TO: PRINCIPAL LIFE INSURANCE COMPANY

The Commonwealth of Kentucky to Defendant:

You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney

on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the

document delivered to you with this Summons.
se

Hart Circuit Clerk
Date: 8/1/2023

Proof of Service
This Summons was:
(1 Served by delivering a true copy and the Complaint (or other initiating document)

To:

CJ Not Served because:

Date: , 20

Served By

Title

5DD38470-D314-42B5-B271-938D673ED7A1 : 000007 of 000008

Presiding Judge: HON. CHARLES C. SIMMS, III (610193)

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Summons ID: @00000066938
CIRCUIT: 23-Cl-00123 Return to Filer for Service

WILCOXSON, WALTER VS. PRINCIPAL LIFE INSURANCE COMPANY F | d
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Case 1:23-cv-00111-GNS-HBB Document 1-2 Filed 08/23/23 Page 4 of 7 PagelD #: 18

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COMMONWEALTH OF KENTUCKY

HART CIRCUIT COURT
DIVISION
CASE NO.
WALTER WILCOXSON,
Plait, COMPLAINT FOR
¥ DECLARATORY JUDGMENT

PRINCIPAL LIFE INSURANCE

COMPANY, Jury Trial Requested

Defendant.

Introduction

I. Plaintiff Walter Wilcoxson (“Plaintiff’ or “Mr. Wilcoxson”) seeks a declaratory
judgment determining whether Defendant Principal Life Insurance Company properly rescinded
an insurance policy providing disability coverage.

2. The headings contained in this Complaint are intended only to assist in reviewing
the statements and allegations contained herein. To avoid unnecessary repetition in each section,
Mr. Wilcoxson affirms and incorporates each paragraph in each section of this Complaint where
necessary as though fully set forth therein.

3. The factual allegations contained in this Complaint are not exhaustive and are
provided only to provide Defendant with notice of the basis for Mr. Wilcoxson’s claim for

declaratory judgment.'

| See Equitania Ins. Co. v. Slone & Garrett, P.S.C., 191 S.W.3d 552, 556 (Ky. 2006)
(“Kentucky has always followed the notice pleading theory which only requires a short and plain
statement of claim demonstrating that relief is warranted and necessary.”).

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Presiding Judge: HON. CHARLES C. SIMMS, III (610193)

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Jurisdiction & Venue
4. Mr. Wilcoxson’s complaint is properly before the Court pursuant to KRS 418.040

and CR 57, which allow him to seek a declaration of his rights if an actual controversy exists.

5. Venue is proper in this Court as follows:
a. Defendant’s actions occurred in Hart County; and
b. Mr. Wilcoxson resides in Hart County.”
Parties
6. Plaintiff Walter Wilcoxson is a resident of Hart County. At all times relevant to

this Complaint, Mr. Wilcoxson resided at 475 Short Cut Road, Horse Cave, Kentucky.

4. Defendant Principal Life Insurance Company (“Principal”) is the insurer for the
disability insurance policy at issue in this lawsuit. Principal’s statutory home office is located at
711 High Street Des Moines, IA 50392. At all relevant times, Principal was an insurance
company operating within and throughout the Commonwealth of Kentucky under DOI ID
300129, FEIN Number 420127290, and NAIC Number 61271. Principal’s agent for service of
process is Principal c/o Corporation Service Company, 421 West Main Street Frankfort, KY
40601.

General Factual Allegations

8. Effective March 22, 2022, Mr. Wilcoxson became insured under an insurance
policy underwritten and issued by Principal in Kentucky.

9, In December 2022, Mr. Wilcoxson became disabled under the terms of the
insurance policy and submitted a claim for benefits.

10. Mr. Wilcoxson submitted his claim to Principal for the insurance policy’s

2 See KRS 304.14-380.

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disability benefits.

11. ‘In response to Mr. Wilcoxson’s claim, by letter dated June 13, 2023, Principal
concluded there was no coverage and rescinded the policy stating as follows: “We have
determined that the Policy is rescinded (terminated as of the policy date) due to the material
misstatements and omissions on your application.”

Claim for Declaratory Relief

12. The insurance policy constitutes a written contract.

13. As an insured under the insurance policy, Mr. Wilcoxson is entitled to apply for
and secure a declaration of his rights or duties, even though no consequential or other relief is
requested.

14. Mr. Wilcoxson seeks a declaration of his rights under the insurance policy—that
Principal is not entitled to rescind the insurance policy and that his coverage remains in effect.

Prayer for Relief

Wherefore, Mr. Wilcoxson respectfully requests the Court grant him the following
relief:

15. Enter declaratory judgment against Principal, and in favor of Mr. Wilcoxson;

16. Have a jury resolve any disputed facts; and

17. Place the burden of proof on Principal.

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Kayla Rountree, Hart Circuit Clerk

Respectfully Submitted,

/s/ Michael D. Grabhorn

Grabhorn Law | Insured Rights®

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Presiding Judge: HON. CHARLES C. SIMMS, Ill (610193)

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